Case 1:05-cv-01102-.]DT-STA Document 5 Filed 07/25/05 Page 1 of 3 Page|D 13

M£DBK:Q£__DC

IN THE UNITED sTATEs DrsTRIcT coURT 95 JUL 25 PH 3, m
FOR THE WESTERN DIsTRIcT oF TENNESSEE
EASTERN DIvIsIoN -H,l,#i:.\,.n‘.

    
   
   
 

   

man
F

"\- l,-~,,.-\?

PEGGY LEE SOMMERS, and
JOHN SOMMERS

Plaintiffs,
vs Civil No. OB-llOQ-T/An
WAL-MART STORES, INC.

Defendant.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
WEDNESD.A.'Yl JUNE 14c 2006 ,at 9:30 a.m. in Rm 432, U. S.
Courthouse. Jackson, TN. The joint pre-trial order must be
submitted to the court by FRIDAYc JUNE 9l 2006. All Discovery must
be completed before that date.

Counsel, and any party proceeding p;Q §§, MUST confer and
attempt to prepare a joint pre-trial order Which covers the items
set forth below. If a joint pre-trial order cannot be agreed upon,
the attorneys must notify the court at least lO days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney for each party or a pmrty
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the

proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature

and amounts of damages;

4. specific facts that may be stipulated (possible

sources of these agreed facts are the pleadings,

discovery, or admission of counsel);

5. contested issues of fact;

6. contested issues of law;

7. exhibits (except documents for impeachment only) to

be offered in evidence by the parties, and to the extent

possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will

be called in the absence of reasonable notice to opposing

counsel to the contrary and those who may be called as a

Case 1:05-cv-01102-.]DT-STA Document 5 Filed 07/25/05 Page 2 of 3 Page|D 14

possibility only.

Counsel, and.any party'proceeding'p;g_§§, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with_ pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conferencer which is to simplify
and. define the triable issues, expedite the trial, and. save
expense. At the time of the conferencer counsel and any party
proceeding p;g §§ will report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman
Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference“?l 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth.Circuit); see also Fed. R. Civ. P. 16.

IF AN ATTORNEY`OR_A PARTY PROCEEDING PRO §§ FAILS TO APPEAR AT
THE PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.
IT IS SO ORDERED.

ENTERED AS DIRECTED,
THOMAS M. GOULD, CLERK

By: gaud€§r# C;(izbuew
Deputy erk

DATE : `7//&$,/ 05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01102 Was distributed by fax, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Clinton J. Simpson

BAKER DONELSON BEARMAN & CALDWELL
20th Floor

165 Madison Avenue

l\/lemphis7 TN 38103

David M. Waldrop

HOLLEY WALDROP NEARN & LAZAROV
9032 Stone Walk Place

Germantcwn7 TN 3 8138

Honorable J ames Todd
US DISTRICT COURT

